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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                                     Case 1:19-cr-00018-ABJ

ROGER J. STONE, JR.

            Defendant.
___________________________________________/

                       MOTION FOR ADMISSION OF ROBERT BUSCHEL

       Pursuant to Criminal Local Rule 44.1(c) & (d), Defendant Roger Stone moves for the

admission and appearance of attorney Robert C. Buschel pro hac vice in the above-entitled

action. This motion is supported by the Declaration of Robert Buschel, filed herewith. As set

forth in Mr. Buschel’s declaration, he is admitted and an active member in good standing the

following courts and bars: the Florida Bar, California Bar, Eleventh Circuit Court of Appeals, the

U.S. District Court for the Southern and Middle Districts of Florida. the U.S. District Court for

the Northern District of California, the U.S. District Court for the Central District of California.

This motion is supported and signed by L. Peter Farkas, Esq. an active and sponsoring member

of the Bar of this Court.

       Dated this 28th day of January, 2019.


                                               Respectfully submitted,

                                               __/s/ L. Peter Farkas_______

                                               L. Peter Farkas
                                               (DDC Bar No. 52944)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 28, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel of record or pro se parties identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic filing.


                                       _____/s/ L. Peter Farkas__________________
                                       L. Peter Farkas
